sonvandeBPe 2:23-CV-21522-JIXN Henwneatlol ohHRECHRS/2S
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SPECIAL TREATMENT UNIT OTRTASTA
TRUST ACCOUNT STATEMENT
STATEMENT DATE: 09/01/2023 - 10/11/2023
SBI#: 0009051490 Name: DENISIUK, JOSHUA DOB: 08/03/1992
LOCATION: — STU-ANNEX-ADORM-BUNK-034 RES# 000658
Max Rel:
LOCATION SUBACCOUNT BEGINNING ENDING HOLD
BALANCE BALANCE
ADTC 2101 SPENDABLE 634.84 247.20
DEBTS AND LOANS SUMMARY
ORIGINAL AMOUNT AMOUNT
TYPE PAYABLE DATE GREATEDIINSTITUTION maT, es OWING _sTATUS
LGLML LEGALMAILLOAN 0401/2016 @ADTC 9.19 9.19 0.00 ACTIVE
OBLIGATIONS SUMMARY
ORIGINAL AMOUNT AMOUNT
TYPE PAYABLE INFO /INDICTMENT # AMOUNT PAID OWING STATUS
TRANSACTION DESCRIPTIONS 2101 SPENDABLE SUB ACCOUNT
DATE LOCATION TYPE TRANSACTION DESCRIPTION TRANSACTION AMT BALANCE
BEGINNING BALANCE: 634.84
09012023 +~=ADTC CDR CHECKJUANITACEASER (50.00) 584.84
090572023 +» ADTC:~—- FPAY_- PAYROLL-82023 211.95 796.79
090572023 ADTC DED $15DEDUCTION-DISCRETIONARY SPENDING RESERVE IN (15:00) 781.79
ACCORDANCE WITH 10A.
09052023 + ADTC ADD $15DEDUCTION-DISCRETIONARY SPENDING RETURN IN 15.00 796.79
ACCORDANCE WITH 10A.
oq072023 +«=9ADTC CDR CHECK-SORRENTO'SPIZZARIA 831/23 (13.45) 783.34
ogzon0z3  ADTC COP COPIES9/17/23 (550) T7784
40042023 ADTC  FPAY 0923 169.56 947.40
4004/2023 ADTC DED $15DEDUCTION-DISCRETIONARY SPENDING RESERVE IN (15:00) 932.40
ACCORDANCE WITH 10A.
4004/2023 ADTC ADD $15DEDUCTION-DISCRETIONARY SPENDING RETURN IN 45.00 947.40
ACCORDANCE WITH 10A.
40/02/2023 ADTC CDR CHECK-WELLS FARGO BANK #5219835724 (700.00) 247.40
4003/2023 ADTC COP COPIES-GMONTH STATEMENT 9/12/2023 (020) 247.20
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